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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

                               Civil Case Number: ________________

                                                   :
Christopher Chaleman,                              :
                                                   :
                         Plaintiff,                :
vs.                                                :
                                                   :
Hunter Warfield, Inc.,                             :
                                                   :
                         Defendant.                :
                                                   :
                                                   :

                                          COMPLAINT

        For this Complaint, the Plaintiff, Christopher Chaleman, by undersigned counsel, states

as follows:

                                          JURISDICTION

        1.      This action arises out of Defendant’s repeated violations of the Fair Debt

 Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), the Florida Consumer

 Collection Practices Act, Fla. Stat. §§ 559.55-559.785 (“FCCPA”), and the Telephone

 Consumer Protection Act 47 U.S.C. § 227, et seq. (the “TCPA”) in its illegal efforts to collect a

 consumer debt.

        2.      Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

        3.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that the

 Defendant transacts business in this District and a substantial portion of the acts giving rise to

 this action occurred in this District.
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                                           PARTIES

      4.      The Plaintiff, Christopher Chaleman (“Plaintiff”), is an adult individual residing

in Lakeland, Florida, and is a “consumer” as the term is defined by 15 U.S.C. § 1692a(3) and

559.55(2), and is a “person” as defined by 47 U.S.C. § 153(39).

      5.      The Defendant, Hunter Warfield, Inc. (“HWI”), is a Maryland business entity

with an address of 96931 Arlington Road, Suite 400, Bethesda, Maryland 20814, operating as a

collection agency, and is a “debt collector” as the term is defined by 15 U.S.C. § 1692a(6) and

is a “creditor” as defined in 559.55(3), and is a “person” as defined by 47 U.S.C. § 153(39).

                     ALLEGATIONS APPLICABLE TO ALL COUNTS

  A. The Debt

      6.      The Plaintiff allegedly incurred a financial obligation (the “Debt”) to an original

creditor (the “Creditor”).

      7.      The Debt arose from services provided by the Creditor which were primarily for

family, personal or household purposes and which meets the definition of a “debt” under 15

U.S.C. § 1692a(5).

      8.      The Debt was purchased, assigned or transferred to HWI for collection, or HWI

was employed by the Creditor to collect the Debt.

      9.      HWI attempted to collect the Debt and, as such, engaged in “communications” as

defined in 15 U.S.C. § 1692a(2).

  B. HWI Engaged in Harassment and Abusive Tactics

      10.     Within the last year, HWI began calling Plaintiff’s cellular telephone, number

941-xxx-7593, in an attempt to collect the Debt.
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      11.     HWI placed calls to Plaintiff’s cellular telephone using an automatic telephone

dialing system (“ATDS”).

      12.     When Plaintiff answered calls from HWI, he heard silence and had to wait on the

line to be connected to the next available representative.

      13.     On or about September 11, 2019, Plaintiff spoke with a live representative and

informed HWI it did not have Plaintiff’s consent to place automated calls to him and requested

HWI cease placing any further calls to him.

      14.     Nevertheless, HWI continued to place automated calls to Plaintiff’s cellular

telephone number at an excessive and harassing rate.

  C. Plaintiff Suffered Actual Damages

      15.     The Plaintiff has suffered and continues to suffer actual damages as a result of the

Defendants’ unlawful conduct.

      16.     As a direct consequence of the Defendant’s acts, practices and conduct, the

Plaintiff suffered and continues to suffer from humiliation, anger, anxiety, emotional distress,

fear, frustration and embarrassment.

                                            COUNT I

                 VIOLATIONS OF THE FDCPA 15 U.S.C. § 1692, et seq.

      17.     The Plaintiff incorporates by reference Paragraphs 1 through 16 of this Complaint

as though fully stated herein.

      18.     The Defendant’s conduct violated 15 U.S.C. § 1692d in that Defendant engaged

in behavior the natural consequence of which was to harass, oppress, or abuse the Plaintiff in

connection with the collection of a debt.
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       19.     The Defendant’s conduct violated 15 U.S.C. § 1692d(5) in that Defendant caused

a phone to ring repeatedly and engaged the Plaintiff in telephone conversations, with the intent

to annoy and harass.

       20.     The Defendant’s conduct violated 15 U.S.C. § 1692e in that Defendant used false,

deceptive, or misleading representation or means in connection with the collection of a debt.

       21.     The Defendant’s conduct violated 15 U.S.C. § 1692e(10) in that Defendant

employed false and deceptive means to collect a debt.

       22.     The Defendant’s conduct violated 15 U.S.C. § 1692f in that Defendant used

unfair and unconscionable means to collect a debt.

       23.     The foregoing acts and omissions of the Defendant constitute numerous and

multiple violations of the FDCPA, including every one of the above-cited provisions.

       24.     The Plaintiff is entitled to damages as a result of Defendant’s violations.

                                            COUNT II

                  VIOLATIONS OF THE FLORIDA CONSUMER
             COLLECTION PRACTICES ACT, FLA. STAT. §§ 559.55-559.785

       25.     The Plaintiff incorporates by reference Paragraphs 1 through 16 of this Complaint

as though fully stated herein.

       26.     The Defendant willfully communicated with the debtor or any member of her or

his family with such frequency as can reasonably be expected to harass the debtor or her or his

family, or willfully engaged in other conduct which can reasonably be expected to abuse or

harass the debtor or any member of her or his family, in violation of the Florida Consumer

Collection Practices Act, Fla. Stat. § 559.72(7).

       27.     The Plaintiff is entitled to damages as a result of Defendant’s violations.
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                                             COUNT III

                   VIOLATIONS OF THE TCPA – 47 U.S.C. § 227, et. seq

         28.   The Plaintiff incorporates by reference Paragraphs 1 through 16 of this Complaint

as though fully stated herein.

         29.   At all times mentioned herein, Defendant called Plaintiff’s cellular telephone

number using an ATDS or predictive dialer.

         30.   Defendant’s telephone system(s) have some earmarks of a predictive dialer.

         31.   When Plaintiff answered calls from Defendant, Plaintiff heard silence before

Defendant’s telephone system would connect him to the next available representative.

         32.   Defendant’s predictive dialers have the capacity to store or produce telephone

numbers to be called, using a random or sequential number generator.

         33.   Defendant placed automated calls to Plaintiff’s cellular telephone number despite

knowing that it lacked consent to do so. As such, each call placed to Plaintiff was made in

knowing and/or willful violation of the TCPA, and subject to treble damages pursuant to 47

U.S.C. § 227(b)(3)(C).

         34.   The telephone number called by Defendant was and is assigned to a cellular

telephone service for which Plaintiff incurs charges pursuant to 47 U.S.C. § 227(b)(1).

         35.   Plaintiff was annoyed, harassed and inconvenienced by Defendant’s continued

calls.

         36.   The calls from Defendant to Plaintiff were not placed for “emergency purposes”

as defined by 47 U.S.C. § 227(b)(1)(A)(i).

         37.   Plaintiff is entitled to an award of $500.00 in statutory damages for each call in

violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B).
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       38.     As a result of each call made in knowing and/or willful violation of the TCPA,

Plaintiff is entitled to an award of treble damages in an amount up to $1,500.00 pursuant to 47

U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).



                                   PRAYER FOR RELIEF

       WHEREFORE, the Plaintiff prays that judgment be entered against the Defendant:

                  1. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1) and Fla. Stat.§ 559.77;

                  2. Statutory damages pursuant to 15 U.S.C. §1692k(a)(2)(A), Fla. Stat.§

                      559.77, and 47 U.S.C. § 227(b)(3)(B);

                  3. Costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C. §

                      1692k(a)(3) and Fla. Stat. § 559.77;

                  4. Treble damages for each violation determined to be willful and/or knowing

                      pursuant to 47 U.S.C. § 227(b)(3)(C);

                  5. Punitive damages pursuant to Fla. Stat. § 559.77; and

                  6. Such other and further relief as may be just and proper.

                      TRIAL BY JURY DEMANDED ON ALL COUNTS


Dated: October 9, 2019

                                             Respectfully submitted,

                                     By      /s/ Matthew Fornaro

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